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                                                EXHIBIT 1
                                      EXHIBIT
                     Case 3:22-cv-10412-MGM    1
                                            Document 1-1 Filed 03/17/22 Page 2 of 22
2279CV00128 Herrick, Robert vs. Hose Assemblies, Inc et al

Case Type:
Torts
Case Status:
Open
File Date
02/22/2022
DCM Track:
F - Fast Track
Initiating Action:
Other Negligence - Personal Injury / Property Damage
Status Date:
02/22/2022
Case Judge:

Next Event:
06/22/2023



 All Information   Party   Event   Tickler   Docket    Disposition


   Party Information
   Herrick, Robert
   - Plaintiff
    Alias                                                    Party Attorney
                                                             Attorney
                                                             Loftus, Esq., Katherine C
                                                             Bar Code
                                                             692288
                                                             Address
                                                             Loftus and Loftus PC
                                                             732 East Broadway
                                                             Boston, MA 02127
                                                             Phone Number
                                                             (617)268-7777
                                                             Attorney
                                                             Loftus, III, Esq., Patrick J
                                                             Bar Code
                                                             303310
                                                             Address
                                                             Loftus and Loftus PC
                                                             732 East Broadway
                                                             Boston, MA 02127
                                                             Phone Number
                                                             (617)268-7777
                                                                                            More Party Information

   Hose Assemblies, Inc
   - Defendant
    Alias                                                    Party Attorney
                                                                                            More Party Information

   The Home Depot, Inc
   - Defendant
    Alias                                                    Party Attorney
                                                                                            More Party Information

   Abc Corporations 1-10
   - Defendant
    Alias                                                    Party Attorney
                                                                                            More Party Information

   John Doe(s) 1-10
   - Defendant
    Alias                                                    Party Attorney
                                                                                            More Party Information
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Events
Date                           Session                    Location      Type                         Event Judge         Result
06/22/2023 02:00 PM            Civil A - Ct. Rm. 4                      Final Pre-Trial Conference




Ticklers
Tickler                                          Start Date          Due Date            Days Due    Completed Date
Service                                          02/22/2022          05/23/2022          90
Answer                                           02/22/2022          06/22/2022          120
Rule 12/19/20 Served By                          02/22/2022          06/22/2022          120
Rule 12/19/20 Filed By                           02/22/2022          07/22/2022          150
Rule 12/19/20 Heard By                           02/22/2022          08/22/2022          181
Rule 15 Served By                                02/22/2022          06/22/2022          120
Rule 15 Filed By                                 02/22/2022          07/22/2022          150
Rule 15 Heard By                                 02/22/2022          08/22/2022          181
Discovery                                        02/22/2022          12/19/2022          300
Rule 56 Served By                                02/22/2022          01/18/2023          330
Rule 56 Filed By                                 02/22/2022          02/17/2023          360
Final Pre-Trial Conference                       02/22/2022          06/20/2023          483
Judgment                                         02/22/2022          02/22/2024          730




Docket Information
Docket Date    Docket Text                                                                           File Ref Nbr.   Image Avail.
02/22/2022     Complaint electronically filed.                                                       1                   Image

02/22/2022     Civil action cover sheet filed.                                                       2                   Image

02/22/2022     Plaintiff Robert Herrick's Motion for                                                 3                   Image
               appointment of special process server.
02/22/2022     Case assigned to:                                                                                         Image
               DCM Track F - Fast Track was added on 02/23/2022
02/23/2022     General correspondence regarding mailed four summonses.                               4
02/23/2022     Endorsement on Motion for appointment of special process server. (#3.0): ALLOWED                          Image

               Judge: Manitsas, Hon. James M




Case Disposition
Disposition                                               Date                     Case Judge
Pending
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